Case 1:20-cv-21707-JEM Document 131 Entered on FLSD Docket 08/02/2021 Page 1 of 1




                          UNITED STATES DISTRICT COURT FOR THE
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                             Case Number: 20-21707-CIV-MARTINEZ

  RAYMOND JAMES FINANCIAL, INC.,

         Plaintiff,

  v.

  FEDERAL INSURANCE COMPANY,
  et al.,

        Defendants.
  _________________________________/

               ORDER DENYING WITHOUT PREJUDICE SEALED MOTION
         THIS CAUSE comes before the Court upon Defendants’ Motion to Exclude Plaintiff’s
  Experts. (ECF No. 121). Defendants filed their motion under seal, yet they failed to comply with
  the procedures set forth in Local Rule 5.4(b). Accordingly, it is
         ORDERED AND ADJUDGED that Defendants’ Sealed Motion to Exclude Plaintiff’s
  Expert, (ECF No. 121), is DENIED without prejudice. Defendants must file a motion for leave
  to file under seal “that sets forth the factual and legal basis for departing from the policy that Court
  filings are public and that describes the information or documents to be sealed [] with as much
  particularity as possible[.]” S.D. Fla. L.R. 5.4(b).
         DONE AND ORDERED in Chambers at Miami, Florida, this 30th day of July, 2021.



                                                          ____________________________________
                                                          JOSE E. MARTINEZ
                                                          UNITED STATES DISTRICT JUDGE
  Copies provided to:
  All Counsel of Record
